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      3   (530)756-7774

      4   Attorney for Defendant
          BRANDON SAVALOJA
      5
      6
                                     UNITED STATES DISTRICT COURT
      7
                                    EASTERN DISTRICT OF CALIFORNIA
      8
      9
          UNITED STATES OF AMERICA                       ) Case No.: CR S-10-192-JAM
     10                                                  )
                         Plaintiff,                      ) STIPULATION AND ORDER
     11                                                  ) CONTINUING STATUS CONFERENCE
                 vs.                                     ) AND EXCLUDING TIME
     12                                                  )
          BRANDON SAVLOJA,                               )
     13                                                  )
                         Defendant                       )
     14                                                  )

     15
             It is hereby stipulated and agreed to between the United States of America of America
     16
          through Assistant United States Attorney Daniel McConkie, and the defendant, BRANDON
     17
          SAVALOJA, by and through his counsel, Lindsay Anne Weston, that the status conference in
     18
          this matter currently scheduled for March 6, 2012, at 1:30 p.m. be continued to March 27, 2012,
     19
          at 9:30 p.m.
     20
                 This continuance is requested by defense. The parties are in negotiations and intend to
     21
          resolve the matter by a plea agreement. The defense just supplied the government with additional
     22
          documentation in order to reach a plea agreement. Further, the government recently provided a
     23
          newly discovered more than 30 minute recorded statement of the defendant which may impact
     24
          the plea agreement. The defense requests an additional three weeks time in order to review the
     25
          recorded statement with the defendant and to continue plea negotiations.
     26
                 IT IS FURTHER STIPULATED that the period from March 6, 2012, through and
     27
          including March 27, 2012, be excluded in computing the time within which trial must commence
     28
          under the Speedy Trial Act, pursuant to 18 U.S.C. §3161(h)(7)(A) and (B)(iv) and Local Code


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      1   T4 (preparation of counsel), and that the ends of justice served in granting the continuance and
      2   allowing the defendant further reasonable time to prepare and the parties to review recently
      3   discovered evidence, taking into account the exercise of due diligence, outweigh the best
      4   interests of the public and the defendant in a speedy trial.
      5   Dated: March 2, 2010                           Respectfully submitted,
      6                                                  /s/Lindsay Anne Weston
      7                                                  _____________________
                                                         LINDSAY ANNE WESTON
      8                                                  Attorney for Defendant
      9                                                  BRANDON SAVALOJA

     10   Dated: March 2, 2010                           BENJAMIN B. WAGNER
                                                         United States Attorney
     11
     12                                                  /s/ Daniel S. McConkie by Lindsay Weston
                                                         ______________________
     13                                                  DANIEL S. MCCONKIE
                                                         Assistant United States Attorney
     14                                                  Attorney for the Plaintiff
     15
     16                                                 ORDER
     17
          IT IS SO ORDERED.
     18
          Dated: 3/5/2012                                /s/ John A. Mendez_______
     19                                                  JOHN A. MENDEZ
                                                         United States District Judge
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